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EXHIBIT B

Case 1:16-cv-o

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SPORTS BOTTLE

BPA-Free
8 reusable ice cubes
For cold beverages only

Double wall construction keeps
your beverage cold longer

Do not microwave
Top shelf dishwasher safe

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Gourmet Home Products
Made ln China

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